              Case 1:11-cr-00354-JLT Document 508 Filed 03/28/14 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KIMBERLY A. SANCHEZ
   KATHLEEN A. SERVATIUS
 3 MELANIE L. ALSWORTH
   Assistant United States Attorneys
 4 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 5 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 6
   Attorneys for Plaintiff
 7 United States of America

 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00354-LJO
12                                      Plaintiff,       PRELIMINARY ORDER OF FORFEITURE
13                            v.
14   VANESSA CAMERON,
15                                      Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of
18 America and defendant Vanessa Cameron it is hereby

19                  ORDERED, ADJUDGED AND DECREED as follows:
20                  1. Pursuant to 21 U.S.C. § 853, defendant Vanessa Cameron’s interest in the
21 following property shall be condemned and forfeited to the United States of America, to be

22 disposed of according to law:

23                           a)         Approximately $1,140.00 in U.S. Currency, and
24                           b)         2005 GMC Sierra C1550, California License Plate Number
                                        7S49399, VIN: 2GTEC13TX51137807
25

26                  2. The above-listed property constitutes property derived from, proceeds
27 obtained directly or indirectly, or were used, or intended to be used, in any manner or

28 part, to commit, or to facilitated the commission of a violation of 21 U.S.C. § 841(a)(1).

      Preliminary Order of Forfeiture                    1
              Case 1:11-cr-00354-JLT Document 508 Filed 03/28/14 Page 2 of 2


 1                  3. Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be
 2 authorized to seize the above-listed property. The aforementioned property shall be seized

 3 and held by the Bureau of Alcohol, Tobacco, Firearms and Explosives, in its secure custody

 4 and control.

 5                  4.       a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United
 6 States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

 7 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as

 8 the Attorney General may direct shall be posted for at least 30 consecutive days on the
 9 official internet government forfeiture site www.forfeiture.gov. The United States may
10 also, to the extent practicable, provide direct written notice to any person known to have

11 alleged an interest in the property that is the subject of the order of forfeiture as a

12 substitute for published notice as to those persons so notified.

13                           b. This notice shall state that any person, other than the defendant,
14 asserting a legal interest in the above-listed property, must file a petition with the Court

15 within sixty (60) days from the first day of publication of the Notice of Forfeiture posted on
16 the official government forfeiture site, or within thirty (30) days from receipt of direct

17 written notice, whichever is earlier.

18                  5. If a petition is timely filed, upon adjudication of all third-party interests, if
19 any, this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853 in which

20 all interests will be addressed.

21 IT IS SO ORDERED.

22      Dated:     March 28, 2014                         /s/ Lawrence J. O’Neill
23                                                  UNITED STATES DISTRICT JUDGE

24

25

26
27

28

      Preliminary Order of Forfeiture                 2
